

Matter of McLeod v Eckert (2018 NY Slip Op 06400)





Matter of McLeod v Eckert


2018 NY Slip Op 06400


Decided on September 28, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on September 28, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: PERADOTTO, J.P., CARNI, LINDLEY, CURRAN, AND WINSLOW, JJ.


1008 TP 18-00186

[*1]IN THE MATTER OF BURNELL MCLEOD, PETITIONER,
vSTEWART ECKERT, SUPERINTENDENT, WENDE CORRECTIONAL FACILITY, RESPONDENT. 






BURNELL A. MCLEOD, PETITIONER PRO SE. 
BARBARA D. UNDERWOOD, ATTORNEY GENERAL, ALBANY (MARCUS J. MASTRACCO OF COUNSEL), FOR RESPONDENT. 


	Proceeding pursuant to CPLR article 78 (transferred to the Appellate Division of the Supreme Court in the Fourth Judicial Department by order of the Supreme Court, Erie County [Russell P. Buscaglia, A.J.], entered December 4, 2017) to review a determination of respondent. The determination found after a tier II hearing that petitioner had violated various inmate rules. 
It is hereby ORDERED that said proceeding is unanimously dismissed without costs as moot (see Matter of Free v Coombe , 234 AD2d 996, 996 [4th Dept 1996]).
Entered: September 28, 2018
Mark W. Bennett
Clerk of the Court








